                         UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF NORTH CAROLINA
                              SOUTHERN DIVISION

VICTORIA CAREY, MARIE BURRIS,       )
MICHAEL KISER, and BRENT NIX,       )
individually and on behalf of all others
                                    )
similarly situated,                 )
                                    )                       Case Nos.:      7:17-CV-00189
       Plaintiff,                   )                                       7:17-CV-00197
                                    )                                       7:17-CV-00201
       v.                           )
                                    )
E. I. DU PONT DE NEMOURS AND        )
COMPANY and THE CHEMOURS            )
COMPANY FC, LLC,                    )
                                    )
       Defendants.                  )
____________________________________)

  NOTICE OF FIRST AMENDED CONSOLIDATED CLASS ACTION COMPLAINT

       Please take notice that pursuant to Federal Rule of Civil Procedure 15(a)(2) and the Court’s

August 1, 2019, Order [D.E. 131 (17-CV-00189)], the above-captioned Plaintiffs today filed a

First Amended Consolidated Class Action Complaint (“FAC”). To address the issues raised in

Defendants’ Motion for More Definite Statement [D.E. 127], the FAC further specifies what

claims and issues are and are not being pursued on a class-wide basis. The FAC continues to seek

class-wide relief for property damage associated with Defendants’ contamination of the water

supply in the Cape Fear River basin, which will include the costs of bottled water and increased

water prices, the costs of remediating contamination, and compensation for the diminution in the

value of their properties. With respect to the medical-expense component of Plaintiffs’ claims, the

Court ruled on Defendants’ motion to dismiss that “plaintiffs, if entitled to recover at all, are

entitled to recover for all injuries, past and prospective, sustained as a result of Defendants’

wrongful and negligent acts. Dickson v. Queen City Coach Co., 233 N.C. 167, 173, 63 S.E.2d 297,

302 (1951).” [D.E. 100 at 21]. In accordance with the Court’s ruling, the trespass claim set forth

                                      1
          Case 7:17-cv-00189-D Document 132 Filed 08/30/19 Page 1 of 5
in the FAC seeks class-wide relief for the invasions of bodily integrity associated with Defendants’

contamination of the water supply in the class area, see FAC ¶¶ 132, 182, including the costs of

blood tests needed to ascertain the level of contaminants in class-members’ blood. The FAC also

seeks the class-wide adjudication of issues under Federal Rule of Civil Procedure 23(c)(4) relating

to personal injuries that may have been sustained as a result of exposure to Defendants’

contaminants. See FAC ¶¶ 140-48. As previously indicated in Plaintiffs’ Opposition to

Defendants’ Motion for a More Definite Statement [D.E. 129], Plaintiffs are not seeking class-

wide adjudication of the extent to which Defendants’ conduct has affected the health of class

members and resulted in other compensable personal injuries. The named Plaintiffs do intend to

pursue their own individual personal injury claims. See FAC ¶¶ 149-85. Plaintiffs also reserve the

right to propose and define subclasses later in this litigation if necessary and appropriate. Plaintiffs

also, of course, may further seek leave to amend as additional facts are learned through discovery

or otherwise as events unfold relating to Defendants’ decades-long contamination of the water

supply in the Cape Fear River basin with GenX and other toxic pollutants originating from the

Fayetteville Works facility. A redline showing the changes from the January 31, Consolidated

Class Action Complaint is attached hereto as Exhibit 1.

        Dated: August 30, 2019
                                                        Respectfully submitted,

                                                        /s/ Theodore J. Leopold
                                                        Theodore J. Leopold
                                                        COHEN MILSTEIN SELLERS
                                                         & TOLL PLLC
                                                        2925 PGA Boulevard, Suite 220
                                                        Palm Beach Gardens, FL 33410
                                                        (561) 515-1400 Telephone
                                                        (561) 515-1401 Facsimile
                                                        tleopold@cohenmilstein.com




                                       2
           Case 7:17-cv-00189-D Document 132 Filed 08/30/19 Page 2 of 5
                                /s/ Jay Chaudhuri
                                Jay Chaudhuri
                                N.C. Bar No. 27747
                                COHEN MILSTEIN SELLERS
                                 & TOLL PLLC
                                150 Fayetteville Street, Suite 980
                                Raleigh, NC 27601
                                (919) 890-0560 Telephone
                                (919) 890-0567 Facsimile
                                jchaudhuri@cohenmilstein.com

                                S. Douglas Bunch
                                Douglas J. McNamara
                                Jamie Bowers
                                Alison Deich
                                COHEN MILSTEIN SELLERS
                                 & TOLL PLLC
                                1100 New York Ave., N.W., Suite 500
                                Washington, D.C. 20005
                                (202) 408-4600 Telephone
                                (202) 408-4699 Facsimile
                                dbunch@cohenmilstein.com
                                dmcnamara@cohenmilstein.com
                                jbowers@cohenmilstein.com
                                adeich@cohenmilstein.com

                                Vineet Bhatia
                                SUSMAN GODFREY, L.L.P.
                                1000 Louisiana Street, Suite 5100
                                Houston, TX 77002
                                (713) 651-3666 Telephone
                                (713) 654-6666 Facsimile
                                vbhatia@susmangodfrey.com

                                Stephen Morrissey
                                Jordan Connors
                                Steven Seigel
                                SUSMAN GODFREY, L.L.P.
                                1201 Third Ave., Suite 3800
                                Seattle, WA 98101
                                (206) 516-3880 Telephone
                                (206) 516-3883 Facsimile
                                smorrissey@susmangodfrey.com
                                jconnors@susmangodfrey.com
                                sseigel@susmangodfrey.com



                            3
Case 7:17-cv-00189-D Document 132 Filed 08/30/19 Page 3 of 5
                                Gary W. Jackson
                                N.C. Bar No. 13976
                                THE LAW OFFICES OF
                                JAMES SCOTT FARRIN, P.C.
                                280 South Mangum Street, Suite 400
                                Durham, NC 27701
                                (919)-688-4991 Telephone
                                (800)-716-7881 Facsimile
                                gjackson@farrin.com

                                Neal H. Weinfield
                                THE DEDENDUM GROUP
                                1956 Cloverdale Ave.
                                Highland Park, IL 60035
                                (312) 613-0800 Telephone
                                (847) 478-0800 Facsimile
                                nhw@dedendumgroup.com

                                Andrew Whiteman
                                WHITEMAN LAW FIRM
                                5400 Glenwood Avenue
                                Suite 225
                                Raleigh, NC 27612
                                (919) 571-8300 Telephone
                                (919) 571-1004 Facsimile
                                aow@whiteman-law.com

                                Attorneys for Plaintiffs




                            4
Case 7:17-cv-00189-D Document 132 Filed 08/30/19 Page 4 of 5
                                CERTIFICATE OF SERVICE

       I hereby certify that the undersigned electronically filed the foregoing document with the

Clerk of Court using the ECF system, with notices of case activity to be generated and sent

electronically to counsel of record who are registered to receive such service.


Dated: August 30, 2019                                       /s/ Steven Seigel
                                                             Steven Seigel




                                      5
          Case 7:17-cv-00189-D Document 132 Filed 08/30/19 Page 5 of 5
